Order filed, September 02, 2016.




                                       In The

                     Fourteenth Court of Appeals
                                    ____________

                               NO. 14-15-00806-CR
                                 ____________

                        JARVIS L. BARBER, Appellant

                                          V.

                       THE STATE OF TEXAS, Appellee


                  On Appeal from the Co Crim Ct at Law No 7
                             Harris County, Texas
                       Trial Court Cause No. 2008621


                                      ORDER

      The reporter’s record in this case was due August 25, 2016. See Tex. R.
App. P. 35.1. The court has not received a request to extend time for filing the
record. The record has not been filed with the court. Because the reporter’s record
has not been filed timely, we issue the following order.

      We order Erin P. Furgason, the substitute court reporter, to file the record
in this appeal within 30 days of the date of this order.

                                   PER CURIAM
